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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

LAURIE POWERS,
                                                         Civil No. 03:19-cv-00284-JR
                              Plaintiff(s),
                                                         ORDER AND JUDGMENT
                     v.                                  OF DISMISSAL

VIOLET ENERGY INC.,

                              Defendant(s).

       Based on the record,

       IT IS ORDERED AND ADJUDGED that the parties’ Joint Motion for Judgment of

Dismissal [89] is GRANTED and that this action is DISMISSED with prejudice and without costs.

Pending motions, if any, are DENIED AS MOOT.

       Dated this 2nd day of December, 2021.


                                                  by __________________________________
                                                         Michael H. Simon
                                                         United States District Judge
